      Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 1 of 13



                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


  AL-RASHAAD R. CRAFT,

                    Plaintiff,

                       vs.                                Case No. 17-CV-469-NF-KHR

  CHAD WRIGHT,in his official and
  individual capacities; and AHMAD
  WHITE,in his official and individual
  capacities;

                  Defendants.


                        ORDER ON PRETRIAL CONFERENCE



       On August 19, 2019, this case was reassigned from the Honorable Judith C. Herrera to the

Honorable Nancy D. Freudenthal District Court Judge for the District of Wyoming sitting by

designation in the District of New Mexico. Under the amended schedule in place at the time of

reassignment (Orders of January 3, 2019 and May 30, 2019, docs. 65, 81), the parties have

conducted fact discovery, designated experts and Defendants have filed a motion for summary

judgment.

       On September 30, 2019 the Honorable Nancy D. Freudenthal, District Court Judge for the

District of Wyoming, sitting by designation in the District of New Mexico, held an initial pretrial

conference in the above-entitled matter. Counsel participating were Joseph Zebas and Tim White

for Plaintiff and Bryan Evans for Defendants.

Jurisdiction and Venue —


       Proper service of process has been accomplished on all parties, and no parties are

erroneously joined in or omitted from the action.
       Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 2 of 13



Consent to Trial by Magistrate Judge —

        The parties are all aware of the provisions of 28 U.S.C. § 636(c) and U.S.D.C.L.R. 73.2,

and acknowledge that this case will proceed before the District Judge assigned hereto, and not

before a Magistrate Judge, However,the parties are not precluded from consenting to trial before

Magistrate Judge Mark L. Carman or Magistrate Judge Kelly H. Rankin anytime sixty(60) days

prior to the trial date.

Claims and Defenses —


        Plaintiff's contentions. This lawsuit arises out ofPlaintiff's arrest following an altercation

with a female at the Ship Street Plaza in Hobbs where Plaintiff was reading from the Bible and

preaching his beliefs. The female berated Plaintiff while he preached and waived a cigarette

lighter in his face. The altercation turned physical when the female's lighter hit Plaintiff's Bible

and it was pushed up into his face. Plaintiffresponded in self-defense by pushing the female away.

Police were called, responded to the scene, took statements from both parties and informed both

parties nobody would be charged, but both could contact the district attorney's office to press

charges. The following week. Plaintiff was arrested, pursuant to a warrant, on charges of

aggravated battery and disorderly conduct. Plaintiff contends the arrest and charges were made

without probable cause,in violation ofthe Fourth Amendment. He also contends that the charges

were improperly motivated by his religious speech in violation of his First Amendment and

Fourteenth Amendment rights offree speech and free exercise ofreligion.

        Defendants' contentions. Defendants deny the allegations. Defendants contend there

was probable cause for Plaintiff's arrest. Defendants deny that the arrest was motivated by a

desire to retaliate against Plaintiff for exercising his First Amendment rights. Also, to the extent

it may be relevant. Defendants question whether Plaintiff acted in self-defense.
                                                  2
      Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 3 of 13



Complexity of the Case —

       The Judge is ofthe opinion that this is a non-complex case.

Amendments to Pleadings and Joinder of Parties —

       The parties do not anticipate adding additional parties or otherwise amending pleadings at

this time. The parties' respective deadlines to move to amend the pleadings and/orjoin additional

parties in compliance with the requirements of Fed. R. Civ. P. 15(a) passed on February 11, 2019

and February 25, 2019.

Rule 26(f) Scheduling Conference —

       The parties have complied with the requirements ofRule 26(f)ofthe Federal Rules ofCivil

Procedure.


Self-Executing Routine Discovery —

       The parties have complied with self-executing routine discovery exchange as required by

Fed. R. Civ. P. 26(a).

       Pursuant to the General Order Regarding Discovery Motions available at

http://www.wvd.uscourts.gov/pdfforms/orders/rankin disc ord.pdf the parties shall confer

regarding any discovery dispute, and in the event the parties cannot settle the discovery dispute on

their own,counsel shall jointly contact chambers prior to filing any written discovery motions.

       The deadline for discovery motions set by previous order has passed.

       THE PARTIES HAVE A CONTINUING DUTY TO SUPPLEMENT OR CORRECT

ALL DISCOVERY DISCLOSURES OR RESPONSES IN ACCORDANCE WITH FED.R.

CIV. p. 26(a).

Expert Witness Designation —

       PlaintifTs Designation Deadline — May 10,2019
                                                 3
      Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 4 of 13



       Defendants' Designation Deadline — June 10,2019

       The deadlines for the parties' respective expert designations have already passed. In

accordance with Fed. R. Civ. P. 26(a)(2), Plaintiff had to designate expert witnesses and provide

Defendants with a complete summary of the testimony of each expert by May 10, 2019. In

accordance with Fed. P. Civ. P. 26(a)(2), Defendants shall designate expert witnesses and provide

the Plaintiff with a complete summary of the testimony of each expert by Jxrne 10, 2019. These

summaries SHALL include a comprehensive statement of the expert's opinions and the basis for

the opinions. See Smith v. Ford Motor Company,626 F.2d 784(10th Cir. 1980). THE PARTIES

ARE LIMITED TO THE DESIGNATION OF ONE EXPERT WITNESS TO TESTIFY FOR

EACH PARTICULAR FIELD OF EXPERTISE, ABSENT A SHOWING THAT COMPLEX

ISSUES NECESSITATE EXPERT WITNESSES WITH NARROW,SPECIALIZED AREAS OF

EXPERTISE WITHIN A LARGER GENERAL FIELD.


       FOR ALL OF JUDGE FREUDENTHAL CASES, THE PARTIES SHALL FILE

THEIR EXPERT DESIGNATIONS WITH THE COURT. The parties shall file their existing

expert designations within seven(7)days ofthis Order. Plaintiff may depose Defendants' experts

after the discovery cutoff date, but must complete the depositions fourteen (14) days PRIOR to

the final pretrial conference.

       In cases where treating medical or mental health providers, including vocational

rehabilitation specialists, may or will be called to testify at trial in part or in full as an expert

witness, the party calling that witness SHALL designate that medical or mental health

provider as an expert witness.

        The party designating the expert witness shall set forth all special conditions or

requirements which the designating party or the expert witnesses will insist upon with respect to
                                                 4
      Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 5 of 13



the taking of their depositions, including the amount of compensation the expert witness will

require and the rate per unit of time at which said compensation will be payable. In the event

counsel is unable to obtain such information to include in the designation, the efforts to obtain the

same and the inability to obtain such information shall be set forth in the designation.

       In any case in which a party (here assumed to be the plaintiff, but it could be any party)

satisfies the criteria for a physical or mental examination under Federal Rule of Civil Procedure

35, the Defendants may require Plaintiff to submit to physical and psychological examinations by

experts designated by Defendants any time up to five full weeks prior to the commencement of

trial. Defendants shall designate said expert witnesses no later than one week after such

examinations. Plaintiff may depose the examining expert witnesses any time during the last four

weeks prior to trial. If Defendants conduct an examination earlier than five weeks prior to trial.

Defendants must designate the opinions ofthe experts no later than twenty(20)days following the

examination. Plaintiff may depose said expert any time prior to the commencement of trial.

       FOR JUDGE FREUDENTHAL CASES, PARTIES SHOULD NOT FILE THEIR

NOTICES OF DEPOSITIONS,SUBPOENAS OR OTHER DISCOVERY NOTICES.

Discovery Cutoff Date — August 15,2019

        The fact discovery cutoff date has already passed. All written discovery requests were

due to be served upon and received by opposing counsel on or before the discovery cutoff date.

All discovery depositions had to be completed by the discovery cutoff date. Trial depositions

may be taken up to seven (7)days prior to the trial date.
      Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 6 of 13



Proposed Orders —

       All proposed orders regarding non-dispositive civil motions should be submitted to Judge

Rankin's      chambers       in         a         word     processing       format      and         emailed      to

NMJudgeKHR@wyd.uscourts.gov.

       All proposed orders regarding dispositive civil motions should be submitted to Judge

Freudenthal's     chambers         in         a     word       processing      format    and        emailed      to

NMJudgeNDF@wyd.uscourts.gov.

Dispositive Motions — Hearing- November 21,2019 at 9:00 a.m.

       Deadline September 16,2019(passed). Response October 14,2019

       The deadline for the parties to file all dispositive motions together with briefs and affidavits

in support thereof was September 16, 2019. Defendants filed a motion for summaryjudgment on

the deadline; Plaintiff did not file a dispositive motion.

        Counsel for the parties shall submit to the Court,together with their briefs, proposed

findings offact and conclusions oflaw and orders supported by the record which reflects the

position of the parties to be taken at the hearing. Defendants shall comply with this

requirement by October 7.2019.

        Plaintiff shall     file        his       responsive     brief   and     affidavits    on     or      before

October 14, 2019.

        Parties submitting deposition testimony in support oftheir motions shall also provide

to the Court via email to NMJudgeNDF@wvd.uscourts.gov. the e-transcript version of the

deposition provided to the parties by the Court Reporter.

        The dispositive motion is hereby set for oral hearing before the Honorable Nancy D.

Freudenthal on November 21,2019, at 9:00 a.m. The parties shall appear at the U.S. Courthouse
      Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 7 of 13



in Albuquerque, Las Cruces or Roswell, NM; the parties shall promptly inform Judge

Freudenthal's courtroom deputy, Abby Logan,regarding the location they prefer for this hearing.

Judge Freudenthal will hear the motion via videoconference.

       IF A HEARING IS SET ON A DISPOSITIVE MOTION,THE COURT DOES NOT

ALLOW REPLY BRIEFS.


Final Pretrial Conference — AprU 20,2020 at 9:00 a.m.

       A final pretrial conference in this matter has been scheduled for April 20,2020 at 9:00 a.m.

at the U.S. Courthouse in Albuquerque, NM. The parties will be notified ofthe exact location at

a later date. Counsel shall appear in person. Judge Freudenthal generally holds the final pretrial

conference in person.

       BEFORE THE CONFERENCE, COUNSEL FOR REPRESENTED PARTIES ALL

MUST AGREE UPON, PREPARE, AND SIGN A JOINT PROPOSED FINAL ORDER

PREPARED FOR JUDGE FREUDENTHAL'S SIGNATURE IN THE FORMAT PROVIDED

ON THE DISTRICT COURT WEBSITE UNDER CIVIL FORMS. UNLESS OTHERWISE

AGREED UPON BY COUNSEL,THE COURT EXPECTS PLAINTIFF'S COUNSEL TO

TAKE THE LEAD IN DRAFTING THE JOINT PRETRIAL ORDER. If you cannot locate

the form, please contact Judge Freudenthal's chambers. All represented parties are jointly

responsible for the preparation of the proposed Joint Final Pretrial Order. A copy of the

proposed order must be delivered directly to Judge Freudenthal's chambers(but not filed)

via e-mail to NMiudgendf@wvd.uscourts.gov at least seven(7) days before the final pretrial

conference.


       WITNESS AND EXHIBIT LISTS MUST BE EXCHANGED BY THE PARTIES

(BUT NOT FILED) AT LEAST FOURTEEN (14) DAYS BEFORE THE FINAL
                                                7
      Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 8 of 13



PRETRIAL CONFERENCE.                Exhibit lists must be attached to, and witness lists must be

included as part of, the proposed Final Pretrial Order in accordance with the instructions in the

form order. The parties are not required to list rebuttal witnesses or impeachment exhibits.

       COPIES OF ALL EXHIBITS AS TO WHICH THERE MAY BE OBJECTIONS


MUST BE BROUGHT TO THE FINAL PRETRIAL CONFERENCE. If an exhibit is not


brought to the final pretrial conference and an objection to the exhibit is asserted, the exhibit may

be excluded from evidence for noncompliance with this order. Exhibits must be prepared for the

final pretrial conference and for trial in accordance with the following instructions:

               A. Marking ofExhibits: All exhibits must be marked by the parties before trial.

       The plaintiff(s) shall list and mark each exhibit with numerals and the number ofthe case,

       and counsel for the defendant(s) shall mark each exhibit intended to be offered at the

       pretrial conference with letters and the number ofthe case, e.g.. Civil No.       ,Plaintiffs

       Exhibit 1; Civil No.           , Defendant's Exhibit A. In the event there are multiple

        parties, plaintiff or defendant, the surname or abbreviated names of the parties shall

        proceed the word "Exhibit," e.g.. Defendant Jones Exhibit A,Defendant Smith Exhibit A,

        etc.


               B. Elimination of Duplicate. The parties should compare the exhibits and

        eliminate duplicates. If more than one party wants to offer the same exhibit,then it should

        be marked with a number and listed as a joint exhibit on the exhibit list ofthe plaintiff(s).

               C. Copiesfor the Court. There is no need to provide copies of exhibits to the

        Court. The originals of the exhibits shall be provided to the Deputy Clerk as they are

        introduced and admitted at trial.

        EXHIBIT LIST: The parties' exhibit lists are to be prepared in the following format.
                                                  8
       Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 9 of 13




                                                                                         Admit/Not
                                       Objections           Category
      Plaintiff(s) Exhibits                                                Offered       Admitted
                                   (Cite Fed. R. Evid.)      A,B,C
                                                                                       (A)-(NA)*




* This column is for use by the trial judge at trial. Nothing should be entered in this colunm by
the parties.

The following categories are to be used for objections to exhibits:

                A.      Category A. These exhibits are admissible upon motion of any party, and

                will be available for use by any party at any stage ofthe proceedings without further

                proofor objection.

                B.      Category B. These exhibits are objected to on grounds other than

                foundation, identification, or authenticity. This category should be used for

                objections such as hearsay or relevance.

                C.       Category C. These exhibits are objected to on grounds of foundation,

                identification, or authenticity. This category should not be used for other grounds,

                such as hearsay or relevance.

       ANY COUNSEL REQUIRING AUTHENTICATION OF AN EXHIBIT MUST SO

NOTIFY THE OFFERING COUNSEL IN WRITING WITHIN FIVE (5) BUSINESS DAYS

AFTER     THE     EXHIBIT     IS    MADE      AVAILABLE TO         OPPOSING      COUNSEL FOR


EXAMINATION. Failure to do so is an admission of authenticity.

        ANY EXHIBIT NOT LISTED ON EXHIBIT LIST IS SUBJECT TO EXCLUSION AT


TRIAL. THE COURT MAY DEEM ANY OBJECTION NOT STATED ON THE EXHIBIT


LIST AS WAIVED.
      Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 10 of 13



       The parties shall identify all witnesses they will call or may call and shall further identify

whether each witness will testify in person, by deposition or by video tape.

       MOTIONS IN LIMINE OR MOTIONS RELATING TO THE EXCLUSION OF

EVIDENCE SHALL BE FILED NO LATER THAN FOURTEEN (14) DAYS PRIOR TO THE

FINAL PRETRIAL CONFERENCE. Responses shall be filed seven (7) days before the final

pretrial conference.

Jury Trial — June 15,2020 at 8:30 a.m.

       A jury trial is set before the Honorable Nancy D. Freudenthal for 8:30 a.m. on June 15,

2020, and is expected to last five (5) days. Trial is set for the U.S. Courthouse in Albuquerque,

NM. The parties will be notified of the exact location at a later date. This case is stacked #2 on

the civil docket.


       ***THE       COURT     HAS    IMPLEMENTED           A   SYSTEM       FOR     ELECTRONIC

SUBMISSION OF EXHIBITS TO THE JURY.                     THE JURY EVIDENCE RECORDING


SYSTEM(JERS)ALLOWS JURORS TO REVIEW EVIDENCE(DOCUMENTARY,PHOTO,

OR VIDEO/AUDIO EXHIBITS) ON A LARGE LED SCREEN DURING DELIBERATIONS.

ATTORNEYS SHOULD PROVIDE THEIR TRIAL EXHIBITS IN ELECTRONIC FORMAT


ON A USB DRIVE, DVD, OR CD TO THE OFFICE OF THE CLERK OF COURT A

MINIMUM OF FIVE (5) DAYS PRIOR TO THE START OF TRIAL.                                COUNSEL IS

REQUIRED TO PROVIDE THEIR EXHIBITS IN THE FOLLOWING ELECTRONIC

FORMATS:


       All electronic evidence should be provided using the following formats:

               •       Document and Photographs: .pdf,.jpg,.bmp,.tif, .gif

               •       Video and Audio Recordings: .avi,.wmv,.mpg,.mp3,.mp4,.wma,.wav
                                                10
         Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 11 of 13



          Regarding the file size of electronic evidence, individual files should not exceed 500MB.

If possible, exhibits approaching or exceeding this size limit should be separated into multiple

files.     PARTIES MAY OBTAIN ADDITIONAL INFORMATION REGARDING THE

SUBMISSION OF ELECTRONIC EXHIBITS BY CONTACTING THE CLERK'S OFFICE AT


307-433-2120.


          The parties SHALL file their proposed voir dire questions, jury instructions and special

verdict form no later than seven (7) days prior to the commencement of trial. Jury instructions

must include citations of authority. The proposed voir dire questions,jury instructions, and special

verdict forms shall be submitted directly to Judge Freudenthal's chambers via e-mail to

NMJudgeNDF@wvd.uscourts.gov.            The instructions must be formatted as a single document for

word. Counsel need submit only proposed substantive jury instructions; the Court has its own

general instructions, which can be found on the district court website under forms.

          THE PARTIES MUST SUBMIT JOINT JURY INSTRUCTIONS AND A JOINT

PROPOSED VERDICT FORM. UNLESS OTHERWISE AGREED UPON BY COUNSEL,

THE COURT EXPECTS PLAINTIFF'S COUNSEL TO TAKE THE LEAD IN DRAFTING THE


JOINT JURY INSTRUCTIONS.In order to produce thesejoint instructions,the parties shall meet

and confer sufficiently in advance of the required submission date. The instructions should be

submitted in the order in which the parties wish to have the instructions read.

          If the parties cannot reach an agreement on the instructions then instructions shall be

submitted in three(3)sets as follows:

          1. The agreed upon instructions.

          2. Those instructions propounded by Plaintiff, opposed by Defendant.

                                                 11
      Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 12 of 13



       3. Those instructions propounded by Defendant, opposed by Plaintiff.

        For disputed instructions, the party should note its objections to the proposed instruction.

The parties should also submit differing versions of disputed instructions or a statement as to why

the instruction should not be included.


       At the same time as the filing ofthejury instructions, the parties shall file a joint statement

setting forth briefly and simply, in a noncontentious manner, the background of the case and the

claims and defenses being asserted. The parties should make every effort to agree upon the

language for the statement. To the extent the parties cannot agree, they should use the following

format: "Plaintiff contends....; Defendant contends ...."

Exclusion of Certain Personal Data from Filings

       In order to promote the electronic access to case files while protecting personal privacy

and other legitimate interests, parties shall refrain from including, or shall redact, where inclusion

is necessary, the following personal data identifiers from their filings, including exhibits thereto,

unless otherwise ordered by the Court.

       • Social Security Numbers.Ifan individual's social security number must be included,only

the last four digits ofthat number should be used.

       • Taxpayer Identification Numbers. If a taxpayer identification number must be included,

only the last four digits ofthat number should be used.

       • Names of Minor Children. If the involvement of a minor child must be mentioned, only

the initials ofthat child should be used.

       • Dates of Birth. If an individual's date of birth must be included, only the year of birth

should be used.


                                                 12
     Case 2:17-cv-00469-NF-KHR Document 95 Filed 09/30/19 Page 13 of 13



       • Financial Account Numbers. If a financial account number is relevant, only the last four

digits ofsuch numbers should be used.

       The responsibility for redacting these personal data identifiers rests solely with counsel and

persons filing the documents with the Court. The Clerk of Court will not review submissions for

compliance with this rule.

Settlement Conference-


       The requirements of Local Rule 16.2 ofthe United States District Court for the District of

New Mexico requiring mandatory settlement conferences shall not apply to this case. However,

the parties should contact either Magistrate Judge Kelly Rankin or Magistrate Judge Mark Carman

if they are interested in court-assisted settlement or mediation. All settlement conferences or

mediations will be conducted in New Mexico.

Settlement Possibilities —


       The Judge considers settlement possibilities of this case to be poor.

Modifications of Filing Deadlines and the Schedule —

       Stipulated extensions oftime for any filing deadlines must be approved by the Court. The

schedule established in this Order may be modified only for good cause and with the Court's

consent. Barring unforeseen circumstances, the Court holds the final pretrial conference and trial

dates firm.


       Dated this 30day of                       r2019.




                                                      NAN             EUDENTHAL
                                                      UNI       STATES DISTRICT JUDGE



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